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     Attorney(s) For Defendants,
5    CERTIFIED FORENSIC
     LOAN AUDITORS, LLC, AND
6    ANDREW P. LEHMAN
7
                          UNITED STATES DISTRICT COURT
8
      FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
9

10
     BUREAU OF CONSUMER                  )         CASE NO.: 2:19−cv−07722
11   FINANCIAL PROTECTION,               )
                                         )         DEFENDANT ANDREW LEHMAN
12                          Plaintiff, )           AND CERTIFIED FORENSIC
                                         )         LOAN AUDITORS LLC NOTICE
13             vs.                       )         OF MOTION AND MOTION TO
                                         )         DISMISS; MEMORANDUM
14                                       )         OFPOINTS AND AUTHORITIES IN
     CERTIFIED FORENSIC LOAN             )         SUPPORT THEREOF
15   AUDITORS, LLC, a Texas Corporation, )
     ANDREW P. LEHMAN, ET AL.,           )         DATE: December 9, 2019
16                                       )         TIME: 1:30 p.m.
                                         )         DEPT.: 5D
17                          Defendants. )          JUDGE: Honorable Otis D. Wright II
                                         )
18                                       )
                                         )
19                                       )
                                         )
20   ________________________________ )
21         TO THE CLERK OF THE COURT, ALL INTERESTED PARTIES HEREIN,
22   AND, TO THEIR RESPECTIVE ATTORNEYS OF RECORD:
23   NOTICE IS HEREBY GIVEN that, on December 9, 2019 in Department 5D of the
24   above-entitled court located at 350 W. 1st Street, Los Angeles, CA 90012, 5th Floor,
25   Los Angeles, CA 90012-3332, Los Angeles, California 90012, Defendants will
26   hereby move the court for Under Federal Rules of Civil Procedure 12(b)(6) for a
27   motion to dismiss Plaintiff’s Complaint failure to state a claim upon which relief may
28   be granted. This motion is made following conferences of counsel, pursuant to C.D.


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1    Cal.R. 7-3, which took place on October 28, 2019, October 29, 2019, October 30,
2    2019 and November 1, 2019.
3

4                      I.      RELIEF REQUESTED
5           A. Dismissal of all claims as the Bureau of Consumer Financial Protection
6              (“CFPB”) is an unconstitutional establishment as it violates the separation
7              of powers;
8           B. Dismissal of Count I, II and III as Defendant Andrew Lehman and CFLA
9              do not provide “mortgage relief assistance” therefore are not under the
10             authority of CFPB and are not in Violation of Regulation O; 12 C.F.R.
11             Section 1015.
12          C. Dismissal of Count I, II and III as Defendant Andrew Lehman and CFLA
13             do not do business with consumers as defined under 12 U.S.C. Section
14             5536.
15          D. Dismissal of Count I, II and III as Defendant Andrew Lehman and CFLA
16             do not provide “consumer financial products or services” as defined under
17             12 U.S.C. Section 5531(a).
18          E. Dismissal of Count III and IV as Plaintiff Has No authority under 12
19             U.S.C. Section 5531 (a) to bring a claim as Defendants have not engaged
20             in a practice that is likely to cause substantial injury to consumers and the
21             any such alleged substantial injury is outweighed by countervailing
22             benefits to consumers or to competition.
23          F. Dismissal of Count IV of the CFPB’s Claims of Abusive Acts or Practices
24             in Violation of the CFPA Since the CFPB Has No Authority Under The
25             CFPA to Declare An Act or Practice Abusive Under 12 U.S.C. Section
26             5531 Because CFLA Does Not Materially interfere with the ability of
27             a consumer to understand a term or condition of a consumer financial
28             product or service; CFLA Does Not take unreasonable advantage of— a
               lack of understanding on the part of the consumer of the material risks,
                                               2
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1              costs, or conditions of the product or service; CFLA Does Not take
2              unreasonable advantage of—the inability of the consumer to protect the
3              interests of the consumer in selecting or using a consumer financial
4              product or service; CFLA Does Not take unreasonable advantage of—the
5              reasonable reliance by the consumer on a covered person to act in the
6              interests of the consumer.
7

8         Dated: November 4, 2019                   Respectfully submitted,
9

10                                                        /s/Maryam Atighechi
11
                                                    By: Maryam Atighechi, Esq.
                                                    ATIGHECHI LAW GROUP
12                                                  Attorney(s) For Defendants,
13
                                                    CERTIFIED FORENSIC
                                                    LOAN AUDITORS, LLC, AND
14                                                  ANDREW P. LEHMAN
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 1     I.     THE CFPB IS UNCONSTITUTIONAL BY ITS OWN ADMISSION.
 2          The Bureau of Consumer Financial Protection (“CFPB”) has declared itself
 3   unconstitutional. Notwithstanding its unconstitutional authority it brings an action
 4   against Certified Forensic Loan Auditors, a Texas Limited Liability Company
 5   Organized under the Laws of the State of Texas (“CFLA”) and Andrew Lehman
 6   (“Lehman”). The Director of the CFPB conceded that “the statutory restriction on
 7   the President’s authority to remove the Director violates the constitutional separation
 8   of powers.” Seila Law LLC v. Consumer Financial Protection Bureau, Case No. 19-
 9   7, 2019 (Resp. brief Pg. 7, filed Sept. 17, 2019).      This issue is now before the
10   United States Supreme Court as Writ of Certiorari was granted for review on the
11   issues of:
12                (1) Whether the vesting of substantial executive authority in the
13   Consumer Financial Protection Bureau, an independent agency led by a single
14   director, violates the separation of powers; and
15                (2) Whether, if the Consumer Financial Protection Bureau is found
16   unconstitutional on the basis of the separation of powers, 12 U.S.C. §5491(c)(3) can
17   be severed from the Dodd-Frank Act. Id. at U.S. No. 19-7, LEXIS 6486.
18          The remedy due to the unconstitutionality of the CFPB is for the United States
19   Supreme Court to decide.        This instant action should be dismissed, or in the
20   alternative stayed, because it was brought by an unconstitutional agency that
21   impedes on the separation of powers vested in the constitution.
22          CFPB filed its Complaint against CFLA and Lehman on September 9, 2019.
23   On September 17, 2019 the Director filed her Responsive Brief in the United States
24   Supreme Court action conceding her unconstitutional authority. Supra. CFPB knew
25   at the time of bringing this enforcement action that it had no constitutional authority
26   to do so as its entire establishment was a violation of the separation of powers.
27   Defendants constitutional rights have been violated as a result and this action must
28   be dismissed as it is the fruit of a poisonous tree.


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 1                 II.    RELEVANT BACKGROUND OF THE CFPB
 2         In July 2010, the President signed into law the Dodd-Frank Wall Street
 3   Reform and Consumer Protection Act (“CFPA”). (Dodd-Frank Act), Pub. L. No.
 4   111-203, 124 Stat. 1376. This Act established the Consumer Financial Protection
 5   Bureau (“CFPB”) headed by a single director (“Director”). CFPB v. Seila Law LLC,
 6   U.S. Case No. 19-7 (Resp. brief pg.1) citing to Consumer Financial Protection Act,
 7   Pub. L. 111-203, Title X, § 1051 et seq., July 21, 2010, 124 Stat. 2018.
 8         Congress gave the CFPB broad authority “to prescribe rules or issue orders or
 9   guidelines pursuant to any Federal consumer financial law” previously administered
10   by seven different agencies. 12 U.S.C. § 5581(a). The CFPB may “conduct hearings
11   and adjudication proceedings,” “issue subpoenas,” and pursue a broad range of legal
12   and equitable relief, including “civil money penalties.” Id., § 5563(a), 5562(b)(1), &
13   5565(a)(2). The Director serves a five-year term. Id. § 5491(c)(1). The Director
14   enjoys power without presidential supervision, because he or she is removable only
15   “for inefficiency, neglect of duty, or malfeasance in office”— only for cause. Id. §
16   5491(c)(3). The Director’s term extends “until a successor has been appointed and
17   qualified.” Id. § 5491(c)(2). The Director also sets the CFPB’s budget. Id. § 5497(a).
18   Despite this overreaching power of quasi-executive, quasi-legislative and quasi-
19   judicial authority the only qualification required for the Director is that he or she be
20   a United States Citizen. 12 U.S.C. § 5481 (c)(1)-(2).
21         When the Federal Trade Commission (“FTC”) was enacted by Congress its
22   establishment was similar in that “any commissioner may be removed by the
23   President for inefficiency, neglect of duty or malfeasance in office”- for cause.
24   Consumer Financial Protection Bureau v. Seila Law, Separation of Powers Scholars
25   US 19-7, (filed July 29, 2019, Pg. 28 of brief or 36 on crt. file). However, it was
26   also established to be “non-partisan” and act with “impartiality.” Id. citing to
27   Humphrey’s Executor v. United States, 295 U.S. 602 at 619 (1935). Congressional
28   intent was to “create a body of experts- a body which shall be independent of
     executive authority” Id.
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 1         The Court in Humphrey’s further reasoned that the “commissioner is to be
 2   non-partisan, and it must from the very nature of its duties, act with entire
 3   impartiality… its duties are neither political nor executive but predominately quasi-
 4   judicial and quasi legislative.”    Id. In Humphrey’s, the court concluded that
 5   congressional intent is to “create a body of experts who shall gain experience by
 6   length of experts- a body which shall be independent of executive authority.” Id.
 7   Congress may only limit the power of the President to remove the Director if it is a
 8   multi-member “body of bi-partisan experts.” See Humphrey’s Executor v. United
 9   States, 295 U.S. 602, 624 (1935)
10         As stated in support of Appellant Seila Law LLC and as against the
11   constitutionality of CFPB “if the exception to the presidential removal power is to
12   apply [12 U.S.C. §5491(c)(3) ] it can only apply when all factors supplied by
13   Humphrey’s Executor are present.” Supra at 36. “This includes a multimember
14   body of “experts” from different political parties who are to be “nonpartisan” and act
15   “impartially.” Id. The CFPB has one partisan Director who makes all decisions and
16   “who enjoys a sweeping portfolio over all the nation’s consumer protection laws”
17   and this is “far removed” from such requirements. Id.
18         Given the CFPB has one director who is quasi-legislative, quasi-executive,
19   quasi-judicial and partisan, the entire CFPB is unconstitutional and it reaches farther
20   than just the removal exception. The entire agency is unconstitutional, and the
21   remedy cannot be to sever the “removal” exception from the Dodd Frank Act.
22         Aside from the unconstitutionality of the CFPB which results in this entire
23   case to be unconstitutional and warrants a dismissal is that the CFPB was created as
24   “a direct and comprehensive response to the financial crisis that nearly crippled the
25   U.S. economy beginning in 2008” CFPB v. Seila Law, U.S. 19-971, Rsp. Brief (filed
26   Sep. 17, 2019, Pg.1) citing to S. Rep. No. 176, 111th Cong., 2d Sess. 2 (2010). The
27   same financial crises that resulted from the banking industry dumping worthless
28   mortgage backed securities on the retirement accounts of the unsuspecting public.
     CFPB was enacted by President Obama to ensure “that the consumer have access to
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 1   markets for consumer financial products and services and that markets for [such]
 2   products and services are fair, transparent, and competitive.” 12 U.S.C 5511 (a).
 3         However, the CFPB has filed fewer and fewer enforcement actions against the
 4   financial industry and now target CFLA, an organization that helps consumers fight
 5   the same financial institutions that created the financial crisis by defrauding millions
 6   of homeowners. CFLA reveals the true ownership of securitized mortgages by
 7   relating them back to a specific mortgage backed securities trust vehicle that would
 8   otherwise be hidden by the financial institution (e.g. Audit).
 9                            III.   PROCEDURAL HISTORY
10         The Complaint is the latest effort by the CFPB in its quixotic quest against
11   CFLA and Lehman, which will as on January 2020 be in its fourth (4) year.
12         On or about August of 2017, CFLA was served in its League City, TX Office
13   with a Civil Information Demand (“CID”), which required immediate Production of
14   Documents and Interrogatories in compliance with very precise instructions set forth
15   in the CID. CFLA and Lehman produced more than 2,000 Bloomberg Securitization
16   Audits with dates, recorded documents, and quiet title litigation packages, as well as
17   more than 750,000 emails all in Native Format, and a combined nearly 500,000
18   individually bates stamped PDF Documents. Additionally, CFLA provided full and
19   complete responses to more than a hundred Interrogatories; all under compulsory
20   order of the CFPB, and all while the CFPB threatened criminal prosecution if the
21   documents were not produced timely.
22         In or about March of 2019, Lehman was deposed in Houston, TX for over two
23   (2) days and the unconstitutional Director of the CFPB executed and issued a Notice
24   & Opportunity to Respond (“NORA”) letter outlining what the CFPB considered
25   were purported violation of legal issues. CFLA disagreed, and thus the instant
26   Complaint for Damages & Injunctive Relief was filed by the CFPB, naming
27   Lehman, and CFLA, and Carrigan, all as Defendants, and simultaneously filing and
28   Order for Stipulation of Entry of Judgment between CFPB and Carrigan, who was
     Lehman’s lead auditor for eight (8) years at CFLA.
                                                 7
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 1                              IV.   SUMMARY OF FACTS
 2         Since 2007, CFLA has globally served attorneys, investors, hedge funds, and
 3   licensed brokers with Mortgage Backed Securities Data through proprietary searches
 4   using the best available technology, including the use of the Bloomberg, LP
 5   Terminal. CFLA has maintained a strict policy as a business-to-business provider of
 6   these Auditing Services, turning away homeowners and consumers from purchasing
 7   the Bloomberg Securitization Audit (hereinafter “Audit”).
 8         CFLA also sold lawyers quiet title services which is essentially a complaint
 9   package that includes an Ex Parte template to stop a trustee sale and Lis Pendens
10   (hereinafter “complaint package”). CFLA ensured that every sale of the Audits was
11   to licensed professionals in the real estate or investor industry but also ensured that
12   every sale of the Complaint Package was to a licensed attorney.
13         CFLA has also performed more than 50 State Bar Approved Continuing
14   Education 6-hour MCLE Seminars about Mortgage Securitization & Foreclosure
15   Defense Strategies in the following States: CA, NV, TX, FL, NY, NJ, IL, and HI
16   (hereinafter “MCLE Seminars”).
17         Further, CFLA also pioneered the Mortgage Securitization Analyst Training
18   Class and Ambassador Mortgage Securitization Analyst Class (with more than 2,000
19   Graduates) wherein trainees are taught how to track residential & commercial
20   Mortgage Backed Securities Data on the Bloomberg Terminal as well as the
21   SEC.GOV site to correctly ascertain the “consumer dwelling lien holder” for the
22   Attorney (hereinafter “training classes”).
23         A.     CFLA Bloomberg Property Securitization Audit:
24         The Bloomberg Terminal provides access to a robust database of commercial
25   and residential mortgage-backed securities which, in recent years, has been
26   enhanced by providing loan level details on individual mortgage loans that serve as
27   the source of cash flow and collateral for these securities. For many decades,
28   consumers had been kept in the dark with respect to how their mortgage loans were
     sold into the secondary market and securitized. It was not until the 2007 mortgage
                                                  8
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 1   meltdown along with the ensuing tsunami of foreclosures that consumers —and the
 2   attorneys who represent them— realized that there had been a paradigm shift in the
 3   mortgage finance industry that they needed to understand. In its simplest terms, a
 4   securitization analysis is to a residential mortgage loan, what a title search is to a real
 5   estate transaction.
 6         For example, a securitization analysis traces the assignment, purchase, sale
 7   and transfer of the mortgage loan among the participants in the securitization;
 8   whereas a title search documents vesting rights and chain of title to real property as
 9   well as liens, encumbrances, deed restrictions, etc. The title examiner will begin his
10   search by accessing the appropriate registry of deeds through the online database of
11   recorded documents and expand the search from there. The securitization analyst
12   will begin by accessing a database of residential mortgage backed securities such as
13   the Bloomberg Terminal followed by online research using the Securities and
14   Exchange Commission’s EDGAR database of registered securities. The Bloomberg
15   Terminal is preferred by securitization analysts because it contains access to
16   information and documentation that is not otherwise available to the public.
17         Licensed Attorneys Nationwide have (1) attended the CFLA Workshops, (2)
18   Seminars, and (3) utilized the CFLA Bloomberg Securitization Audit successfully in
19   their law practice. Attorneys in many States still utilize the Audit report to this very
20   day all over the United States. Additionally, the CFLA Bloomberg Audit has now
21   become a high demand commodity in the UK, Ireland, Australia, and South Africa,
22   as their banking systems have copied the American model of defrauding its own
23   citizens to pilfer profits out of the housing market.
24         The Audit has been crucial to foreclosure and real estate lawyers.
25         As Opined by Texas Foreclosure Defense Attorney Jeff Jackson, Esq., of
26   Jackson & Elrod, PC.
              “Many times, the CFLA audit is the only way I can identify which
27
              securitized trust to sue to stop a non-judicial sale…And Without the audit,
28            there is more often than not no way for me to identify the trust and the
              securitization parties for the trust before a lawsuit is filed.

                                                  9
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 1          And Opined by California Foreclosure Defense Lawyer Patricia Rodriguez,
 2   Esq.
                  “The Audit can provide a basis to go to court and at times stop the non-
 3
                 judicial foreclosure sale, Very effective in judicial foreclosure states where
 4               the bank has to prove standing to foreclose, In Judicial foreclosure states
 5
                 the securitization report is pivotal to showing the court the broken chain of
                 title,”
 6
            B.     CFLA Complaint Package:
 7
            Similar to all its other products, CFLA has a strict policy that it will only sell
 8
     its complaint packages to Lawyers. The complaint package contains a securitization
 9
     complaint, Ex Parte template to stop a trustee sale and a Lis Pendens. Many law
10
     firms, around the country, purchased the “Complaint Package” for use in their law
11
     practice to file a civil action, in both state and federal court.    Many of those law
12
     firms have been successful with the complaint package and in obtaining an
13
     injunction to stop a trustee sale by using the Ex Parte template or Lis Pendens to
14
     cloud title.
15         C.     Bank Fraud Necessitated the CFLA Audit:
16          As a result of the banking fraud, some homeowners wished to know how their
17   loan was securitized and if they were awarded restitution from a class settlement.
18   The Securitization Audits were necessary to help homeowners determine whether
19   the homeowners qualified for that settlement.          To this very day, CFLA helps
20   uncover whether a consumer’s mortgage was securitized by one of the Trusts that
21   qualifies them for a monetary reward. Without CFLA most Attorneys do not know
22   how the loan which banking entity the loan is securitized.
23                            V.     SUMMARY OF ARGUMENT
24          CFPB has no vested authority upon it by the Consumer Financial Protection
25   Act of 2010 (“CFPA”) to bring forth this suit for several reasons:
26          First, the CFPB cannot state a claim upon which relief can be granted since
27   the CFPB’s Director has conceded that “the statutory restriction on the President’s
28   authority to remove the Director violates the constitutional separation of powers.”
     CFPB v. Seila Law LLC, Case No. 19-7, 2019 U.S. LEXIS 6486 (Resp. brief Pg. 7).
                                                  10
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 1   As the Court in Humphrey’s v. United States of America held, Congress may only
 2   limit the powers of the President to remove the Director if it is a “multimember,
 3   board of experts who are all bipartisan. 295 U.S. 602 at 619 (1935). As the CFPB
 4   Director self-proclaims that her position is unconstitutional this action must be
 5   dismissed immediately to avoid further irreparable harm to Defendants who have
 6   suffered already four (4) years of intense investigation with the CFPB through a
 7   Civil Investigative Demand (“CID”) and suffered financial losses from an
 8   unconstitutional agency.
 9         Second, even if the CFPA were to be found constitutional, Regulation O does
10   not govern CFLA as CFLA does not provide mortgage-assistance-relief services to
11   consumers.     Pursuant to 12 C.F.R. §1015.2 a mortgage relief service provider
12   provides “a service, plan or program.” CFLA does not provide homeowners or
13   businesses with a “service, plan or program.” The Audit is factual data pertaining to
14   a securitization of a home loan, similar to a title search. CFLA does not service,
15   plan or provide a program that assist the homeowner with obtaining a loan
16   modification or stopping the foreclosure.        CFLA does not consult with the
17   consumer, negotiate on behalf of the consumer or act in any way as an agent of the
18   consumer. CFLA sells Securitization Audits, that contain information, to mortgage
19   brokers, lawyers and hedge funds. CFLA sells Complaint Packages to lawyers like a
20   paralegal service. CFPB has failed to sufficiently plead that Defendants offer a
21   service, plan or program as a mortgage service relief provider.
22         Third, even if the CFPB were constitutional, the CFPB does not have
23   authority Under 12 USC § 5531 (a) to bring a claim against CFLA or Lehman as
24   they have 1) not engaged in a practice that is likely to cause substantial injury to
25   consumers, and 2) any such alleged substantial injury is outweighed by
26   countervailing benefits to the consumer or to competition. The CFPB has failed to
27   address any substantial injury in its complaint. No such injury exists. Further, if any
28   such purported injury exists (which it does not) the countervailing benefits outweigh
     such injury.    Consumers have benefitted from their attorney having important
                                               11
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 1   financial data pertaining to their loan.    This is pertinent data that the attorney
 2   otherwise would not have known. Every homeowner should know how their loan is
 3   securitized.   Rather than being transparent about loan ownership, the banks
 4   intentionally conceal this information.
 5         Fourth, the complaint fails to state a claim upon which relief may be granted
 6   as CFLA does not provide “Consumer Financial Products & Services” as defined
 7   Under 12 U.S.C. § 5532 (a) and
 8         Lastly, Under 12 USC § 5531 (d), CFPB has no legal authority to pursue a
 9   cause of action for Abusive trade Practices as CFPB has failed to sufficiently plead
10   that CFLA materially interfered with the ability of a consumer to make an informed
11   reasoned choice to utilize the CFLA service, as the section expressly states that the
12   CFPB has no authority to declare an act or practice abusive in connection with the
13   provision of a consumer financial product or service, unless the act or practice (1)
14   materially interferes with the ability of a consumer to understand a term or condition
15   of a consumer financial product or service or (2) takes unreasonable advantage of—
16   (A) a lack of understanding on the part of the consumer of the material risks, costs,
17   or conditions of the product or service; (B) the inability of the consumer to protect
18   the interests of the consumer in selecting or using a consumer financial product or
19   service or (C) the reasonable reliance by the consumer on a covered person to act in
20   the interests of the consumer.
21                               VI.    LEGAL STANDARD
22         Under Fed. R. Civ. Proc. 12(b)(6), a motion to dismiss lies where the
23   complaint reveals a “failure to state a claim upon which relief can be granted.” Such
24   a motion is meritorious “where there is no cognizable legal theory, or an absence of
25   facts alleged to support a cognizable legal theory.” (Navarro v. Block, 250 F.3d
26   729, 732 (9th Cir. 2001)), or where the “plaintiffs have not ‘pled enough facts to state
27   a claim to relief that is plausible on its face” ((Williams ex rel. Tabiu v. Gerber
28   Products Co., 523 F.3d 934, 938 (9th Cir. 2008), quoting Bell Atlantic Corp. v.
     Twombley, 550 U.S., 127S.Ct.1955, 1974, 167 L.Ed 29 929 (2007)).
                                                12
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 1         In considering a motion to dismiss pursuant to Fed. R. Civ. P. 12(b) 6, the
 2   court must give no effect to “legal conclusions couched as “factual allegations.”
 3   Bell Atlantic Corp. v. Twombley, 550 US, 127 S.Ct. 1955, 1974, 167 L.Ed. 29, 929
 4   (2007). “Factual allegations must be enough to raise a right to relief above the
 5   speculative level.” (Id.) “While a complaint attached by a Rule 12 (b) (6) motion to
 6   dismiss does not need detailed factual allegations, a plaintiff’s obligation not provide
 7   the ‘grounds’ of his ‘entitlement to relief’ requires more than labels and conclusions,
 8   and a formulaic recitation of the elements of a cause of action will not do.” (Bell
 9   Atlantic, id. At 1964-1965.)
10         A complaint must “contain either direct or inferential allegations respecting all
11   the material elements necessary to sustain recovery under some viable legal theory.”
12   (Twombley, supra, 550 U.S., 127 S.Ct. 1955, 1969.) The factual allegations must be
13   definite enough to “raise a right to relief above the speculative level.” (Id. At 1965)
14         In reviewing a motion to dismiss under Rule 12 (b)(6), the court must assume
15   the truth of all factual allegations and must construe all inferences from them in the
16   light most favorable to the nonmoving party. (Thompson v. Davis, 295 F.3d 890,
17   895 (9th Cir.2002). However, legal conclusions need not be taken as true merely
18   because they are cast in the form of factual allegations. (Ileto v. Glock, Inc., 349
19   F.3d 1191, 1200 (9th Cir. 2003)) Affirmative Defenses may be upheld if they are
20   established on the face of the complaint. (See Morley v. Walker, 175 F.3d 756, 759
21   (9th Cir.1999).)
22
           1. AN UNCONSTITUTIONAL AGENCY CANNOT BRING AN
23
              ENFORCEMENT ACTION AS AGAINST DEFENDANTS AND
24            THEREFORE CANNOT STATE A CLAIM UPON WHICH RELIEF
25
              CAN BE GRANTED.

26
27         The CFPB is an unconstitutionally structured agency that has aggregate
28   legislative, executive and judicial power into the hands of one director. Id. §§
     5563(a), 5562(b)(1), & 5565(a)(2).        As the district court properly stated in
                                                13
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 1   addressing the unconstitutionality of the CFPB, “other than the President, the
 2   Director of the CFPB is the single most powerful official in the entire U. S.
 3   Government, at least when measured in terms of unilateral power.” PHH Corp. v.
 4   CFPB, 839 F.3d 1, 17 (D.C. Cir. 2016). Yet, this powerful person only requires that
 5   he or she be a United States Citizen to qualify and is not elected into power. 12
 6   U.S.C. 5491(b)(3).     This kind of authority is dangerous as it “threatens, the
 7   individual liberty protected by the Constitution’s separation of powers.” Supra.
 8   Any direction that comes from this unconstitutional Director must be stricken and
 9   dismissed as a result of the fruit of a poisonous tree.         The entire CID was
10   unconstitutional, along with the NORA letter issued to Defendants and this instant
11   Complaint must be dismissed.       The Directors actions in this case, as in all cases,
12   violates the constitutional liberty of the Defendants.
13         On September 17, 2019 the Director filed her responsive brief to the United
14   States Supreme Court conceding that her position was unconstitutional. Supra. U.S
15   2019-7 (Resp. brief filed September 17, 2019, Pg. 7) On September 9, 2019, under
16   her unconstitutional authority she directed the CFPB to file this instant action
17   knowing she was before the United States Supreme Court to decide how to handle
18   her unconstitutional position that violates the separation of powers.             This
19   enforcement action and this complaint was filed as a result of a violation of
20   Defendants constitutional rights. CFPB has unclean hands and should not have
21   brought an action against Defendants knowing that the Director violated the
22   separation of powers. This action should be dismissed as it is the fruit of the
23   poisonous tree.
24

25

26
27   ///
28   ///
     ///
                                                14
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            2.     THE DIRECTOR’S ENTIRE ESTABLISHMENT IS
 1
                   UNCONSTITUTIONAL AS SHE HAS A PARTISAN, LONE
 2                 ROLE WITH SWEEPING AUTHORITY THAT ENCROACHES
 3
                   UPON ALL THREE BRANCHES OF GOVERNMENT
                   THEREFORE THIS CASE MUST BE DISMISSED AS IT
 4                 VIOLATES THE CONSTITUTIONAL RIGHTS OF ALL
 5
                   CITIZENS.

 6

 7          Given the CFPB has one director who is quasi-legislative, quasi-executive,
 8   quasi-judicial and partisan, the entire CFPB is unconstitutional and it reaches farther
 9   than just the removal exception under 12 U.S.C. §5491(c)(3). §5581(a), §5563(a),
10   5562(b)(1), & 5565(a)(2). The entire agency is unconstitutional, and the remedy
11   cannot be to sever the “removal” exception.        The “checks and balances” of the
12   constitution allowing for separation of powers prevents tyranny, maintains
13   democracy and to allow this sole director, who is partisan with quasi-legislative,
14   quasi-judicial and quasi-executive authority to proceed would violate the separation
15   of powers of the three branches of government and as such be a violation to the
16   constitutional rights of all citizens.
17          When the Federal Trade Commission (“FTC”) was enacted by Congress its
18   establishment was similar in that “any commissioner may be removed by the
19   President for inefficiency, neglect of duty or malfeasance in office” – in other words
20   for cause. Consumer Financial Protection Bureau v. Seila Law, U.S. 19-7,
21   Separation of Powers Scholars Brief of Amici Curiae, (filed July 29, 2019) Pg. 28 of
22   brief or 35 on crt. file. However, it was also established to be “non-partisan” and act
23   with “impartiality.” Id. citing to Humphrey’s Executor v. United States, 295 U.S.
24   602 at 619 (1935).
25          Most importantly, the congressional intent of the commission was to “create a
26   body of experts- a body which shall be independent of executive authority” Id. The
27   Court in Humphrey’s further reasoned that “the commissioner is to be non-partisan,
28   and it must from the very nature of its duties, act with entire impartiality… its duties
     are neither political nor executive but predominately quasi-judicial and quasi
                                                15
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 1   legislative.” Id. The Court in Humphrey’s concluded that congressional intent is to
 2   “create a body of experts who shall gain experience by length of experts- a body
 3   which shall be independent of executive authority.” Id. Further, the FTC is not
 4   executive. It is only quasi-legislative and quasi-judicial. Id. It does not encroach
 5   upon all three branches of government.
 6         As stated in support of Appellant, Seila Law LLC and as against the
 7   constitutionality of CFPB “if the exception to the presidential removal power is to
 8   apply [(12 U.S.C. §5491(c)(3)] it can only apply when all factors supplied by the
 9   Court in Humprey’s Executor are present. Supra. This includes a multimember
10   “body of “experts” from different political parties who are to be “nonpartisan” and
11   act “impartially.” Id. The CFPB has one partisan Director who makes all decisions
12   and “enjoys a sweeping portfolio over all the nation’s consumer protection laws”
13   and this is “far removed” from such requirements.           Id.    The CFPB is an
14   unconstitutional entity given too much power to one individual without any checks
15   and balances therefore this case must be dismissed.
16
           3.    AN AUDIT IS FACTUAL DATA AND ON ITS OWN DOES
17               NOT PROVIDE MORTGAGE RELIEF SERVICES
18
                 THEREFORE LEHMAN AND CFLA ARE NOT WITHIN THE
                 CLASS OF REGULATION O AND CFPB.
19

20         12 C.F.R. §1015.2 or “Regulation O” prohibits “mortgage relief service
21   providers from requesting or receiving an advanced fee.”          CLFA cannot be a
22   “mortgage relief service provider” as it is defined under the statute as “any service,
23   plan, or program, offered or provided to the consumer in exchange for consideration,
24   that is represented, expressly or by implication, to assist or attempt to assist the
25   consumer with… stopping, preventing or postponing the mortgage.” 12 C.F.R.
26   §1015.2
27         CFPB has failed to sufficiently plead facts that CFLA is a mortgage relief
28   service provider. CFPB pleads in its complaint that “LEHMAN either personally
     provided Audits to consumers, or he arranged for CFLA to do so.” (Complaint Page
                                               16
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 1   9 Line 46). To plead that CFLA and Lehman sold Audits is not enough to meet the
 2   definition of a mortgage relief assistant provider. An Audit on its own does not
 3   provide mortgage relief services.      An audit, on its own, is factual informative
 4   material- that is it. In its simplest terms, a securitization analysis is to a residential
 5   mortgage loan, what a title search is to a real estate transaction. A document such as
 6   a title search, are not included in the definition of a mortgage relief service provider
 7   and cannot on its own be a “mortgage relief service provider” and does not meet the
 8   definition under 12 C.F.R. § 1015.2.
 9
                  i.     Defendants Cannot Be Considered Mortgage Assistance
10
                         Relief Service Providers Within the Scope of Regulation O;
11                       Codified at 12 C.F.R. § 1015.
12         Mortgage Assistance Relief Service means any “service, plan, or program”
13   offered or provided to the consumer in exchange for consideration that is
14   represented, expressly or by implication, to assist or attempt to assist the consumer
15   with any of the following: (1) Stopping, preventing, or postponing any mortgage or
16   deed of trust foreclosure sale for the consumer's dwelling, any repossession of the
17   consumer's dwelling, or otherwise saving the consumer's dwelling from foreclosure
18   or repossession” 12 C.F.R. § 1015.2.
19         CFPB has failed to plead facts that CFLA and Lehman are engaged in the
20   “stopping, preventing, or postponing any mortgage or deed of trust foreclosure sale
21   for the consumer’s dwelling, any repossession of the consumer’s dwelling or
22   otherwise saving the consumer’s dwelling from foreclosure or repossession” 12
23   C.F.R § 1015.2
24         CFLA states in the Retail Service Agreement Section 13 as follows: “we do
25   not transact on behalf of the Homeowner in any way, including sending letters,
26   making phone calls, contacting banks, or filing and serving your legal documents.
27   CFLA offers the Sale of Goods, and NOT Services” The sale of good does not have
28   the same character or conduct as the offering of a service to the consumer. Once
     CFLA sells the Audit to the Attorney it has no other contact with anyone regarding
                                                 17
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 1   that loan. CFLA sells goods and thus not a “services, plan, or program” as required
 2   under 12 C.F.R. § 1015.2. Once the Attorney receives the Securitization Audit, the
 3   characterizations at the time of receipt of the Audit by the Attorney is a product and
 4   not a service, plan or program. Attorneys are exempt from Regulation O under the
 5   “exemption provision of 12 C.F.R. §1015.7 (a).
 6         The intent of this regulation as it was drafted, and by the definition of
 7   “mortgage relief service provider” within 12 C.F.R. § 1015.2 was enacted to prevent
 8   loan modification companies and like services from taking advantage of people.
 9   The statute does not include, nor contemplate, the merchant-to-merchant sale of a
10   Securitization Audit which CFLA provides.
11
           4.    PURSUANT TO 12 U.S.C. § 5531 (C) CFPB HAS NO
12
                 AUTHORITY TO BRING THIS CLAIM AS CFLA HAS NOT
13               CAUSED SUBSTANTIAL INJURY TO CONSUMERS OR THE
14
                 SUBSTANTIAL INJURY IS NOT OUTWEIGHED BY
                 COUNTERVAILING BENFITS TO THE HOMEOWNER
15

16         Count III of CFPB’s complaint alleges a violation of 12 U.S.C. § 5531 (a)
17   which provides that CFPA prohibits a covered person from engaging in “unfair,
18   deceptive or abusive act or practice under Federal Law in connection with any
19   transaction with a consumer for a consumer financial product or service, or the
20   offering of a consumer financial product or service.”
21         U.S Code § 5531 (c) (1) further provides that “The Bureau shall have no
22   authority under this section to declare an act or practice in connection with a
23   transaction with a consumer for a consumer financial product or service, or the
24   offering of a consumer financial product or service, to be unlawful on the grounds
25   that such act or practice is unfair, unless the Bureau has a reasonable basis to
26   conclude that—
27         (A) the act or practice causes or is likely to cause substantial injury
28   to consumers which is not reasonably avoidable by consumers; and


                                                18
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 1         (B) such substantial injury is not outweighed by countervailing benefits
 2   to consumers or to competition.”
 3         First, CFLA does not serve consumers or provide consumer financial
 4   products. CFLA serves licensed professionals only such as lawyers, real estate
 5   brokers and hedge funds.
 6         Secondly, CFBP has failed to sufficiently plead that CFLA engages in a
 7   practice that is likely to cause substantial injury to consumers and if there is any
 8   purported, substantial injury (which there is not) CFPB failed to show any such
 9   alleged injury is not outweighed by the benefit to consumers. CFLA provides
10            1) informative data through “securitization audits”;
11            2) complaint packages purchased by licensed Attorneys;
12            3) training seminars on how to perform audits and
13            4) State Bar Approved MCLE’s.
14      Where is the injury to homeowners? If Plaintiff conjured up some purported
15   injury it failed to plead those facts in the Complaint. CFBP is abusing its extreme
16   and unconstitutional power (currently up for decision with the United States
17   Supreme Court) by bringing this claim against CFLA absent any authority.
18
                 i.     The CFPB Cannot and, Has Not, Established That
19
                        Defendants Have Engaged in a Practice Likely to Cause
20                      Substantial Injury to the Consumer.
21         CFPB has failed to allege any substantial injury its Complaint. At no time, has
22   an injury to a homeowner existed by selling any one of CFLA’s Audits, or CFLA
23   conducting any one of its training seminars or holding MCLE State Bar Approved
24   seminars and selling legal templates to licensed Attorneys (from which many courts
25   have ordered an injunction for a trustee sale). At no time was a homeowner injured
26   through any one of those services.
27         Through a Civil Information Demand (“CID”), CFPB has had the entire (a)
28   email database, (b) every one of the Bloomberg Securitization Audits & Quiet Title
     Packages Produced by CFLA since 2014, (c) Copies of the Executed CFLA Service
                                              19
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 1   Agreements, (d) Complete Customer Lists of CFLA Clients, (e) complete and full
 2   disclosure of all information since December of 2017 when CFLA produced more
 3   than 500,000 Bates Labeled PDF Documents to the CFPB, more than 750,000
 4   emails to the CFPB in native format to the CFPB, and answered more than 100
 5   Specially Prepared Interrogatories to the CFPB all without objection, and all without
 6   a referee or intermediary to maintain fairness and equality or balance of legal powers
 7   exercised by the CFPB and its multiple attorneys against CFLA and LEHMAN; both
 8   non-attorneys and unrepresented in that discovery process.         Through all that
 9   discovery obtained, CFPB cannot allege that homeowners have been injured as a
10   result of CFLA’s services.
11
                  ii.   The CFPB Cannot Establish That Any Substantial Injury to
12
                        the Consumers is Not Outweighed by Countervailing Benefits
13                      to Consumers or to Competition.
14         CFPB has failed to meet the first prong of 12 U.S.C Section 5531 (a) as it
15   failed to show a substantial injury to homeowners but even if, assuming for the sake
16   of arguendo, CFPB pleads an injury to homeowners it fails to further establish that
17   any such purported injury is not outweighed by the benefit to consumers.
18         There is a great benefit to consumers having access to a securitization search
19   of their mortgage.     There are judgments in which restitution is provided to
20   homeowners depending on which securities bank owns the note. For example, in re
21   Bear Stearns Mortgage Pass-Through Certificates Litigation, Case No. 1:08-cv-
22   08093-LTS (S.D.N.Y.), restitution was provided only to those homeowners who had
23   a Bear Stearns Mortgage Backed Security note. Without an Audit there is no way
24   for a consumer, or their Attorney, to know whether they qualify.
25         The audits provide homeowners with transparency, data and information.
26   Information is power.     Under no circumstance can facts be fraudulent.          The
27   securitization audits inform Professionals as to pertinent data pertaining the
28   securitization of a mortgage. There is no substantial injury, CFPB failed to plead
     any such injury and failed to plead that any such injury.
                                                20
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 1
           5.     THE CFPB HAS NO AUTHORITY UNDER CFPA TO
 2
                  DECLARE THE CONDUCT OF CFLA ABUSIVE AS IT DOES
 3                NOT MEET THE REQUIREMENTS UNDER 12 USC SECTION
 4
                  5531(D)

 5
           Under 12 U.S.C. § 5531 (d) The Bureau shall have no authority under this
 6
     section (i.e. the C.F.P.A.) to declare an act or practice abusive in connection with the
 7
     provision of a consumer financial product or service, unless the act or practice—(1)
 8
     materially interferes with the ability of a consumer to understand a term or condition
 9
     of a consumer financial product or service; or (2) takes unreasonable advantage of—
10
     (A) a lack of understanding on the part of the consumer of the material risks, costs,
11
     or conditions of the product or service; (B) the inability of the consumer to protect
12
     the interests of the consumer in selecting or using a consumer financial product or
13
     service; or (C) the reasonable reliance by the consumer on a covered person to act in
14
     the interests of the consumer. 12 U.S.C. § 5531 (d).
15

16                i.    CFLA Does Not Materially interfere with the ability of
17
                        a consumer to understand a term or condition of a consumer
                        financial product or service;
18
           CFPB has failed to sufficiently plead that CFLA materially interferes with the
19
     ability of a consumer to understand a term or condition of a consumer financial
20
     product pursuant to 12 U.S.C.§ 5531(d). The professional purchases the Audit with
21
     the understanding that it is compilation of data found of the security of their home
22
     through a search, similar to a title search.      Further, lawyers have a wealth of
23
     understanding of the complaint package prior to purchasing.
24

25                ii.   CFLA Does Not take unreasonable advantage of— a lack of
26
                        understanding on the part of the consumer of the material
                        risks, costs, or conditions of the product or service;
27
           CFPB has failed to plead any facts in its compliant that CFLA has taken
28
     unreasonable advantage on the part of the consumer of the material risks, costs or

                                                21
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 1   conditions of the product or service pursuant to 12 U.S.C § 5531 (d). CFLA
 2   contracts with Attorneys and Licensed Brokers to sell “securitization Audits” CFLA
 3   gives its clients extensive agreements, in clear terms, to have their clients sign which
 4   states in clear terms all the material aspects of the Securitization Audit. CFLA
 5   makes no guarantees as to the work product or the results of the work product and
 6   charges a very small fee for the securitization Audit (i.e. between $500 - $1,000)
 7   depending on the volume of client files that the Attorney is generating. There are
 8   very few risks, if any, CFLA does not contact the dwelling lien holder, or transact on
 9   behalf of the consumer in any way. The total risk is the cost of the service and the
10   cost is very low considering the consumer would have to spend more than
11   $10,000.00 to get a Bloomberg Terminal themselves and lookup the same
12   information, and this assumes that the Consumer would have the advanced skills to
13   navigate the terminal themselves.
14
                  iii.   CFLA Does Not take Unreasonable Advantage of—the
15
                         Inability of the Consumer to Protect the Interests of
16                       the Consumer in Selecting or Using a Consumer Financial
17
                         Product or Service.
           CFLA as a business to business provider cannot be reasonably considered to
18
     be taking advantage of its Law Firm Clients whose practice in this Industry is their
19
     expertise.   Now to allege the attenuation of the CFLA Client Attorney taking
20
     advantage of the ultimate consumer is to say that CFLA has taken unreasonable
21
     advantage of its Attorney client to the extent that CFLA has “brainwashed” its Client
22
     Attorney into taking unreasonable advantage of the consumer.
23

24
                  iv.    CFLA Does Not take Unreasonable Advantage of—the
25                       Reasonable Reliance by the Consumer or a Covered
26
                         Person to Act in the Interests of the Consumer.
           Here, CFLA owes no fiduciary responsibility to the consumer. CFLA has no
27
     interaction with the consumer. Thus, the Consumer cannot as a practical matter,
28
     expect CFLA to act in the best interests of the consumer.

                                                22
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 1
           6.     CLFA AND LEHMAN DO NOT PROVIDE “CONSUMER
 2
                  FINANCIAL PRODUCTS AND SERVICES AS DEFINED
 3                UNDER 12 U.S.C § Section 5531 (A)
 4         The CFPB’s complaint alleges Defendants’ are Covered Persons Under 12
 5   USC Section 5531 (defined as any person that engages in offering or providing a
 6   consumer financial product or service), because Defendants’ have engaged in (viii)
 7   providing financial advisory services including—(I)providing credit counseling to
 8   any consumer; and (II) providing services to assist a consumer with debt
 9   management or debt settlement, modifying the terms of any extension of credit, or
10   avoiding foreclosure. [CFPB Complaint Para.51]
11         CFLA and LEHMAN do not engage in any service of credit or debt
12   counseling or debt management to the consumer. Defendants have never consulted
13   with, advised, or provided any advice to a consumer at any time. CFLA sells factual
14   data to professionals.    CFPB fails to state specifically any actual consumers that
15   were advised, consulted, or offered any advice from CFLA. Quite to the contrary,
16   CFLA makes its customers expressly acknowledge that CFLA does not offer any
17   advisory services, consulting or otherwise to any consumer at any time. CFLA is
18   merely a source for Securitized Data for licensed Attorneys and Professionals.
19   Plaintiff’s complaint fails to state a cognizable legal theory as to how CFLA is a
20   covered person and fails in its entirety.
21

22
                  i.     Defendants’ Do Not Do Business with Consumers as Defined
                         Under 12 U.S.C. § 5536
23

24
           CFLA sells Only to Attorneys and Businesses its Bloomberg Securitization
25
     Audits & Quiet Title Forms and has never been engaged in any Financial Advisory
26
     Services or selling any products to any Consumer. CFLA States Clearly on its
27
     Website with bold disclaimers, as well as in its Client Agreements that “CFLA Does
28
     not Engage in any Loan Modification Services or Transact on behalf of the
     Consumer in any way, including Negotiating With Any Consumer’s Dwelling Lien
                                                 23
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 1   Holder,” rather, it is CFLA advanced work product “The Bloomberg Property
 2   Securitization Report” that correctly identified for the Attorney or Licensed Real
 3   Estate Broker Who the actual “Consumer Dwelling Lien Holder Actually is.”
 4   CFLA Does not, and has never, contracted with any unrepresented parties, even
 5   though services may be ordered over the internet the client must expressly
 6   acknowledge that (a) they Have an Attorney Representing them in the instant matter,
 7   and that (b) they are not requesting this Securitization Audit Report on their own
 8   personal residential owner occupied Residence.”
 9         It is the CFLA Bloomberg Securitization Audit Report which identifies the
10   Residential Mortgage Backed Security upon which their Dwelling Lien Holder is
11   found so that Attorneys and Loan Modification Professionals may “Secure an
12   Agreement with the Dwelling Lien Holder. Most Attorneys come to CFLA for the
13   purpose of identifying the Consumer’s Dwelling Lien Holder, since this information
14   is most often hidden, concealed, withheld from the Consumer. The Plaintiff herein
15   CFPB hopes to keep it that way.
16
                 ii.    CFLA Never Consults with the Consumer Dwelling Lien
17
                        Holder or Obtains an Agreement with the Consumer
18                      Dwelling Lien Holder at Any Time
19

20         To ask CFLA a data service and auditing service provider to secure an
21   agreement with a “consumers dwelling lien holder” would require CFLA to act
22   outside the scope of its business model and violate public policy because it would
23   create issues under the 10th Amendment for violating State Laws related to the
24   Unlawful Practice of Law or unlicensed Debt Consulting.
25

26
                 iii.   To Force Defendants to Obtain an Agreement with the
                        Consumers Dwelling Lien Holder Violates Public Policy
27

28
           Further, to require Defendants’ to consult with Consumer’s Dwelling Lien
     Holder and obtain an agreement on behalf of the consumer would violate public
                                             24
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 1   policy as it would encourage Defendants’ to violate 10th Amendment Rights
 2   Afforded to the Respective States such as the Unlawful Practice of Law or other
 3   Service requiring State Licensing and Specialization that Defendants Never Purport
 4   to Possess.
 5

 6                                   VII. CONCLUSION
 7         In conclusion, Plaintiff CFPB is an unconstitutional agency that has
 8   overreaching unconstitutional powers that are executive, judicial and legislative. All
 9   investigations and conduct stemming from Director must be dismissed, including
10   this Complaint, as it is the fruit of a poisonous tree and violates Defendants
11   constitutional rights.
12         Moreover, Plaintiff’s Complaint is fundamentally defective and meritless.
13   Defendants Certified Forensic Loan Auditors, LLC, and Andrew P. Lehman
14   respectfully pray that the Court grant its motion for dismissal under Federal Rule of
15   Civil Procedure 12(b)(6), and that Plaintiff’s complaint be dismissed in its entirety
16   with prejudice and that is take nothing by way of these claims or in the alternative,
17   the Court Stay this proceeding pending a resolution by the USC on the ripe issue of
18   the constitutionality of the CFPB,.
19

20
                                                    Respectfully submitted,
21
                                                    By: Maryam Atighechi, Esq.
22                                                  ATIGHECHI LAW GROUP
23
                                                          /s/ Maryam Atighechi
24                                                  Attorney(s) For Defendants,
25
                                                    CERTIFIED FORENSIC
                                                    LOAN AUDITORS, LLC, a Texas
26                                                  Limited Liability Company Organized
27
                                                    under the Laws of the State of Texas,
                                                    and ANDREW P. LEHMAN
28


                                               25
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 1                            CERTIFICATE OF SERVICE
 2         I hereby certify that a true and correct copy of the foregoing document was
 3   served upon the counsel of record listed below by the Central District of California
 4   ECF method or by certified mail, return receipt requested on the fourth (4th) day of
 5   November 2019.
 6

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